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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE

-------------------------------------------------------------x
                                                             :
In re                                                        :        Chapter 11
                                                             :
WASHINGTON MUTUAL, INC., et al.,1                            :        Case No. 08-12229 (MFW)
                                                             :
                  Debtors.                                   :        (Jointly Administered)
                                                             :
                                                             :
-------------------------------------------------------------x

                   STIPULATION REGARDING PAYMENT OF STATE
               OF WASHINGTON DEPARTMENT OF REVENUE TAX REFUND

          Subject to the approval of the Court, this stipulation (“Stipulation”) is entered into by

and among (a) WMI Liquidating Trust (the “Trust”) in its capacity as successor to Washington

Mutual, Inc. (“WMI”), (b) JPMorgan Chase Bank, N.A. (“JPMC”), and (c) Mr. Cooper Group,

Inc. (formerly known as WMIH Corp., WMI Holdings Corp., and WMI and referred to herein as

“Reorganized WMI”) (collectively, the “Parties” and each individually a “Party”). The

Federal Deposit Insurance Corporation, as receiver for Washington Mutual Bank (the “FDIC-

Receiver”) notes its lack of objection to the relief provided herein while reserving all other

rights.

          WHEREAS,

          A.      WMI was a multiple savings and loan holding company and the parent of, among

other entities, Washington Mutual Bank (“WMB”).

          B.      On February 8, 2008, WMI sought from the Washington State Department of

Revenue (“DOR”) a refund of $2,878,066 for overpayment of Business and Occupation
1
 The Debtors in these chapter 11 cases along with the last four digits of each Debtor’s federal tax identification
number are: (i) Washington Mutual, Inc. (3725); and (ii) WMI Investment Corp. (5395). The principal offices of the
Trust, as defined herein, are located at 800 Fifth Avenue, Suite 4100, Seattle, Washington 98104. Subsequent to the
Effective Date, as defined below, WMI Investment Corp. was dissolved in accordance with applicable law.
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(“B&O”) taxes for the years 2004 and 2005. See Attachment A hereto (Application for Refund

or Credit).

       C.        On September 25, 2008, the Office of Thrift Supervision closed WMB and

appointed the FDIC-Receiver as its receiver. JPMC thereafter assumed WMB’s deposit

liabilities and purchased substantially all of WMB’s assets from the FDIC-Receiver pursuant to a

Purchase and Assumption Agreement, Whole Bank, dated as of September 25, 2008.

       D.        On September 26, 2008 (the “Petition Date”), WMI and its subsidiary WMI

Investment Corp. (together, the “Debtors”) commenced cases under chapter 11 of title 11 of the

United States Code in the United States Bankruptcy Court for the District of Delaware (the

“Bankruptcy Court”). On October 3, 2008, the cases were consolidated under the lead case for

WMI.

       E.        On June 29, 2009, DOR filed Proof of Claim No. 3732 in the amount of

$1,619.18 for priority taxes owed by WMI for the prepetition portion of the year 2008. See

Docket No. 10756-1 at page 97.

       F.        On February 23, 2012, the Bankruptcy Court confirmed the Debtors’ Seventh

Amended Joint Plan of Affiliated Debtors Pursuant to Chapter 11 of the US Bankruptcy Code

(“Plan”) (Docket No. 9759) whereby, among other things, the Trust was established for the

purpose of liquidating and distributing its assets, with no objective to continue or engage in the

conduct of a trade or business. Plan § 27.2.

       G.        The Plan states that “[t]he Liquidating Trust shall consist of the Liquidating Trust

Assets” (Plan § 27.3) and defines the Liquidating Trust Assets as:

       ... all assets of the Debtors ... except (i) Cash to be distributed by the
       Reorganized Debtors ..., (ii) Cash necessary to reimburse the Reorganized
       Debtors for fees and expenses incurred in connection with initial distributions



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          made ..., (iii) economic interest retained by the Debtors in any Litigation
          Proceeds ... and (iv) Creditor Cash on the Effective Date and equity interests in
          each of WMI Investment ..., WMMRC and WMB.

Id. § 1.140.

          H.      The Plan incorporates the Second Amended and Restated Settlement Agreement

(the “Global Settlement Agreement” or “GSA”), executed on February 7, 2011, by and among

WMI, JPMC, the FDIC-Receiver, and the other signatories thereto. Among other things, the

GSA settled disputes among the parties thereto regarding the allocation of tax refunds and costs

related thereto. See Docket No. 9759-5 at § 2.4.

          I.      On March 19, 2012 (the “Effective Date”), the Plan became effective. Following

the Effective Date, WMI became known first as WMI Holdings Corp., then as WMIH Corp.,

and, as of October 2018, as Mr. Cooper Group, Inc. (“Reorganized Debtor”).

          J.      DOR asserts that a refund in the principal amount of $2,813,191.82 for

overpayments by WMI for tax years 2004 and 2005, together with interest that has accrued

pursuant to RCW 82.32.060 and WAC 458-20-229, is appropriate (the “Refund”). DOR placed a

hold on the Refund pending resolution of the chapter 11 case, including resolving the question of

which entity is entitled to the Refund. See Attachment B hereto, Declaration of Revenue Agent at

page 2.

          K.      On September 19, 2018, general counsel for the Trust wrote to DOR, asserting

that $3,418,825.82 related to the Refund should be paid to the Trust (Refund Request). See

Attachment C hereto, Letter from the Trust.

          L.      The Trust and DOR engaged in discussions regarding the Refund. DOR seeks to

insulate itself from liability to others who may potentially claim an interest in the Refund. The

Trust does not believe that any other entity has a valid or legally cognizable basis to claim an



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interest in the Refund, given the language of the Plan and GSA.


        M.       The amount to be refunded by DOR is $2,813,191.82, plus interest calculated

pursuant to RCW 82.32.060 and WAC 458-20-229(8) that has accrued through the date of

payment, less the $1,619.18 amount set forth in DOR’s Proof of Claim No. 3732 (the “Adjusted

Refund”). As of the date of this Stipulation, the Adjusted Refund with accrued interest through

that date totaled $4,289,357.182. The interest rate methodology used to calculate this figure, and

to be used to calculate any further interest that accrues prior to payment of the Adjusted Refund,

is attached hereto as Schedule D.


        N.       DOR is prepared to pay the Adjusted Refund to the Trust upon the direction and

approval of the Bankruptcy Court, on the condition that, upon payment of the Adjusted Refund,

DOR shall be released from any and all liability to the Parties with respect to the Refund, and

shall be released as to any other entity to the fullest extent permitted by law. See Attachment B,

Declaration of Revenue Agent at page 3.


        NOW, THEREFORE, in consideration of the foregoing, and subject to

the Bankruptcy Court’s approval, the Parties hereby stipulate and agree as follows:

                                               STIPULATION

        1.        DOR shall pay to the Trust the Adjusted Refund, in the amount of $4,289,357.18,

plus the additional interest that accrues from after the date of this Stipulation through the date on

which payment is actually received by the Trust.

        2.        DOR’s payment of the Adjusted Refund to the Trust in accordance with the
2
 The amount of the Adjusted Refund assumes that this Stipulation is executed on, and filed with the Bankruptcy
Court on, November 22, 2019. The amount of the Adjusted Refund should be increased or decreased, as the case
may be, by $308.29 for each day before or after, as the case may be, that this Stipulation has not been executed
and/or filed with the Bankruptcy Court.


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terms of this Stipulation will fully resolve DOR’s obligations and liability with respect to

refunding WMI’s overpayment of B&O Taxes for the relevant periods. Upon payment of the

amount specified in paragraph 1 above, DOR shall be deemed released from any and all liability

with respect to the Refund or Adjusted Refund.

       3.       Upon the Bankruptcy Court’s approval of this Stipulation and payment of the

Adjusted Refund to the Trust, Proof of Claim No. 3732 shall be deemed withdrawn with

prejudice.

       4.       JPMC, the FDIC-Receiver, and Reorganized WMI have no objection to the

foregoing provisions.

       5.       Each of the Parties represents and warrants that this Stipulation (a) has been duly

authorized by all necessary action, (b) has been duly executed and delivered by it and is a valid

and legally binding agreement, enforceable against it in accordance with its terms and (c) does

not require any consent, approval or any other action by any other parties, other than approval of

this Stipulation by the Bankruptcy Court.

       6.       This Stipulation may not be modified or amended, other than by a writing

executed by the parties hereto. This Stipulation may be executed in one or more counterparts,

each of which shall be deemed to be an original, and all of which, when taken together, shall

constitute one and the same instrument.

                                     [Signature pages follow]




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                                      MR. COOPER GROUP, INC.,
                                      formerly known as WMIH Corp., WMI Holdings Corp.,
                                      and Washington Mutual, Inc.


                                      By: ___________________________________
                                          Name: (OLVDEHWK*RUPOH\
                                          Title: 9LFH3UHVLGHQW &RUSRUDWH6HFUHWDU\



NO OBJECTION:

DLA PIPER LLP (US)


By: _______________________________
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   Attorneys for FDIC, as Receiver
    For Washington Mutual Bank




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                                                         SCHEDULE D
WMI Liquidating Trust
Calculation of Interest on B&O Tax Refund Due to the Trust

B&O Tax Refund - 2004                   2,289,865.00
B&O Tax Refund - 2005                     523,326.82
Total Refund Due                        2,813,191.82

                                                                 (not compounded)
    Year           Int Rate        Interest                  Running Total Tax Balance                 Refund

           2004               4%                 -                                 2,289,865.00        2,289,865.00
           2005               4%           83,815.33              83,815.33        2,813,191.82        2,897,007.15
           2006               5%          138,437.24             222,252.57        2,813,191.82        3,035,444.39
           2007               7%          196,923.43             419,176.00        2,813,191.82        3,232,367.82
           2008               7%          196,923.43             616,099.43        2,813,191.82        3,429,291.25
           2009               5%          140,659.59             756,759.02        2,813,191.82        3,569,950.84
           2010               3%           84,395.75             841,154.77        2,813,191.82        3,654,346.59
           2011               3%           84,395.75             925,550.52        2,813,191.82        3,738,742.34
           2012               2%           56,263.83             981,814.35        2,813,191.82        3,795,006.17
           2013               2%           56,263.83           1,038,078.18        2,813,191.82        3,851,270.00
           2014               2%           56,263.83           1,094,342.01        2,813,191.82        3,907,533.83
           2015               2%           56,263.83           1,150,605.84        2,813,191.82        3,963,797.66
           2016               2%           56,263.83           1,206,869.67        2,813,191.82        4,020,061.49
           2017               3%           84,395.75           1,291,265.42        2,813,191.82        4,104,457.24
           2018               3%           84,395.75           1,375,661.17        2,813,191.82        4,188,852.99
           2019               4%          104,820.25           1,480,481.42        2,813,191.82        4,293,673.24

                                   Interest calculated through December 6, 2019


                                                                              Daily Interest:      $        308.29
